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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                  CASE NO . 1:09-MD-02036-JLK


   IN RE: CHECKING ACCOUNT
   OVERDRAFT LITIGATION

   MDL No. 2036



   THIS DOCUMENT RELATES TO:

   Michael Dasher and Stephanie Avery v. RBC Bank (USA), predecessor in interest to PNC Bank,
   N.A.

   S.D. Fla. Case No. 1:10-CV-22190-JLK


                                       FINAL JUDGMENT

          The Court, having entered the Order of Final Approval of Settlement, Authorizing Service

   Awards, and Granting Application For Attorneys’ Fees dated August 10, 2020 (DE # 4448), hereby

   ORDERS AND ADJUDGES as follows:

          I.     The Court incorporates herein by reference the Order Granting Final Approval of

   Settlement, Authorizing Service Awards, and Granting Application For Attorneys’ Fees and

   Expenses dated August 10, 2020 (“Final Approval Order”). (DE # 4448).

          II.    Except as specifically modified by the Final Approval Order, all capitalized terms

   used herein shall have the meaning set forth in the Settlement Agreement and Release between the

   Parties (“Settlement”). (DE # 4429-1).

          III.   This Court has personal jurisdiction over all of the Settlement Class Members

   because they received the best practicable notice of the Settlement, which notice was reasonably
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   calculated, under all the circumstances, to apprise interested parties of the pendency of the Action

   and the terms of the Settlement, and to afford them an opportunity to present their objections or to

   request exclusion from the Settlement. The Court also has jurisdiction over PNC Bank, N.A.

   (“PNC”), successor in interest to RBC Bank (USA) (“RBC”) and over the Plaintiffs, all of whom

   have personally appeared in the Action pending before this Court. The Court has subject matter

   jurisdiction over the Action pursuant to 28 U.S.C. §§ 1332(d)(2) and (6).

            IV.      For purposes of effectuating the Settlement, and in accordance with Federal Rules of Civil Procedure

   23(a) and 23(b)(3), the Court certifies the Settlement Class defined as:

             All holders of a RBC Account who, from October 10, 2007 through and including
             March 1, 2012, incurred one or more Overdraft Fees as a result of RBC’s High-to-
             Low Posting.
             Excluded from the Class are all former RBC and current PNC employees, officers
             and directors, and the judge presiding over this Action.
   Agreement, ¶ 56.

            V.       The Action is hereby dismissed with prejudice, each side to bear its own fees and

   costs, except as otherwise provided in the Final Approval Order. The Action, as defined in the

   Settlement, means Michael Dasher v. RBC Bank (USA), predecessor in interest to PNC Bank, N.A.

   S.D. Fla. Case No. 1:10-cv-22190-JLK, which is dismissed with prejudice, as are any and all other

   cases pending in this MDL as of the date of Preliminary Approval to the extent they assert claims

   against RBC or any of its affiliates, including Stephanie Avery v. RBC Bank, E.D.N.C. Case No.

   5:10-cv-00329.

            VI.      Without modifying the scope of Section XIV of the Settlement, as of the Effective

   Date, Plaintiffs and all Settlement Class Members, each on behalf of himself or herself and on behalf

   of his or her respective heirs, assigns, beneficiaries, and successors, shall automatically be deemed

   to have fully and irrevocably released and forever discharged PNC and each of its present and

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   former parents, subsidiaries, divisions, affiliates, predecessors (including but not limited to RBC),

   successors and assigns, and the present and former directors, officers, employees, agents, insurers,

   reinsurers, shareholders, attorneys, advisors, consultants, representatives, partners, joint venturers,

   independent contractors, wholesalers, resellers, distributors, retailers, predecessors, successors, and

   assigns of each of them, of and from any and all liabilities, rights, claims, actions, causes of action,

   demands, damages, costs, attorneys’ fees, losses, and remedies, whether known or unknown,

   existing or potential, suspected or unsuspected, liquidated or unliquidated, legal, statutory, or

   equitable, that result from, arise out of, are based upon, or relate to the conduct, omissions, duties

   or matters up to and including March 1, 2012 that were or could have been alleged in the Action,

   including, without limitation, any claims, actions, causes of action, demands, damages, losses, or

   remedies relating to, based upon, resulting from, or arising out of (a) RBC’s assessment of one or

   multiple Overdraft Fees on Settlement Class Members’ Accounts, (b) the amount of one or more

   RBC Overdraft Fees assessed on Settlement Class Members’ Accounts, or (c) High-to-Low Posting,

   any other posting order used by RBC on Settlement Class Members’ Accounts.1 The foregoing

   release includes, by way of example but not limitation, any and all of the following to the extent they

   involve, result in, or seek recovery or relief for Overdraft Fees, High-to-Low Posting, or any posting

   order: (1) RBC’s authorization, approval or handling of any Debit Card Transaction, (2) any failure

   by RBC to notify or to obtain advance approval when a Debit Card Transaction would or might

   cause Settlement Class Members’ Accounts to become overdrawn or further overdrawn or an

   Overdraft Fee to be assessed, (3) any failure by RBC to require Settlement Class Members to opt-in,



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    Pursuant to the Settlement, the scope of this release is strictly limited to the Releasing Parties’
   consumer banking relationships with RBC and, if they remained customers following the merger,
   with PNC.
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   or to allow Settlement Class Members to opt-out, of overdrafts, or to publicize or disclose the ability

   of the holder of any RBC account to opt-out of overdrafts between October 10, 2007 and March 1,

   2012, (4) any failure by RBC to adequately or clearly disclose, in one or more agreements, posting

   order, High-to-Low Posting, overdrafts, Overdraft Fees, or the manner in which Debit Card

   Transactions are or would be approved, processed, or posted to Settlement Class Members’

   Accounts, (5) any conduct or statements by RBC encouraging the use of RBC Debit Cards, (6) the

   use of High-to-Low Posting on Settlement Class Members’ Accounts and the assessment of

   Overdraft Fees as a result of High-to-Low Posting, and (7) any RBC advertisements or marketing

   materials relating to any of the foregoing.

             VII.    The Parties to the Settlement submit to, and this Court expressly reserves and retains,

   exclusive jurisdiction over the Action and the Parties, including RBC, PNC, Plaintiffs, and all

   Settlement Class Members, to administer, implement, supervise, construe, enforce and perform the

   Settlement in accordance with its terms, and to enforce the Final Approval Order. Without limiting

   the foregoing, and by way of example only, the Court retains jurisdiction to adjudicate any suit,

   action, proceeding or dispute arising out of the Settlement. The Court shall also retain jurisdiction

   over all questions and disputes related to the Notice Program, Settlement Administrator, the Notice

   Administrator and the Tax Administrator.

             VIII.   Nothing in the Settlement, the Final Approval Order, or this Judgment shall be

   deemed to be an admission, or to constitute an adjudication by the Court, of the truth or falsity of

   any claims or defenses heretofore made, or an acknowledgment or admission by RBC or any party

   of any fault, liability or wrongdoing of any kind whatsoever or of any violation of statute, regulation

   or law.



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          IX.    Plaintiffs and all Settlement Class Members, including all objectors, are hereby

   barred and enjoined from asserting any of the Released Claims, including, but without limitation,

   during any appeals from the Final Approval Order and this Judgment.

          DONE and ORDERED in chambers at the James Lawrence King Federal Justice

   Building and United States Courthouse, Miami, Florida, this 10th day of August, 2020.




                                                      JAMES LAWRENCE KING
                                                      UNITED STATES DISTRICT JUDGE


   Copies furnished to:

   All Counsel of Record




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